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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF GEORGIA
                            WAYCROSS DIVISION

UNITED STATES OF AMERICA                     )
                                             )
      v.                                     )   Criminal Case No. 5:21-CR-009-9
                                             )
CHARLES MICHAEL KING                         )


                           DECLARATION OF PUBLICATION

           1.    I am an Assistant United States Attorney, and I represent the United

  States in this action.

           2.    As required by 21 U.S.C. § 853(n)(1) and Rule 32.2(b)(6)(C) of the

  Federal Rules of Criminal Procedure and as evidenced by Exhibit A hereto, Notice

  of Criminal Forfeiture was posted on www.forfeiture.gov, an official government

  website, for 30 consecutive days, beginning on October 31, 2023.

           3.   I declare under penalty of perjury that the foregoing is true and correct.

                Executed this 12th day of December 2023.


                                                  JILL E. STEINBERG
                                                  UNITED STATES ATTORNEY


                                           By:    /s/ Tania D. Groover
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